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                                                                                       7 M.D., HAL F. YEE, M.D., ROGER LEWIS, M.D.,
                                                                                         and MITCHELL KATZ, M.D.
                                                                                       8
                                                                                       9                         UNITED STATES DISTRICT COURT
                                                                                                      CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
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                                         15760 VENTURA BOULEVARD, EIGHTEENTH FLOOR




                                                                                      12 TIMOTHY RYAN, M.D., an                     Case No. 2:17-cv-05752-R-RAO
                                                                                         individual,
                                                  ENCINO, CALIFORNIA 91436




                                                                                      13                                            [Honorable Manuel L. Real]
                                                                                                      Plaintiff,
                                                                                      14                                            REPLY MEMORANDUM OF POINTS AND
                                                                                                vs.                                 AUTHORITIES IN SUPPORT OF
                                                                                      15                                            DEFENDANTS' MOTION TO DISMISS
                                                                                         BRANT PUTNAM, M.D., an                     PLAINTIFF'S FIRST AMENDED
                                                                                      16 individual, JANINE VINTCH, M.D., an        COMPLAINT
                                                                                         individual, ANISH MAHAJAN, M.D.,
                                                                                      17 an individual, CHRISTIAN DE                Date:         December 4, 2017
                                                                                         VIRGILIO, M.D., an individual, HAL         Time:         10:00 a.m.
                                                                                      18 F. YEE, M.D., an individual, ROGER         Ctrm:         880
                                                                                         LEWIS, M.D., an individual,
                                                                                      19 MITCHELL KATZ, M.D., an                    Action Filed: August 3, 2017
                                                                                         individual, and DOES 1 through 50,         Trial Date:   None Set
                                                                                      20 inclusive,
                                                                                      21                  Defendants.
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                                                                                       1 I.           INTRODUCTION
                                                                                       2              In their Motion to Dismiss (Doc. 15), all seven Defendants demonstrated that
                                                                                       3 they are entitled to qualified immunity, and that Plaintiff Timothy Ryan, M.D.'s
                                                                                       4 First Amended Complaint ("FAC") (Doc. 14) fails to state a claim for relief under
                                                                                       5 42 U.S.C. § 1983. Among other things, Defendants showed that none of them
                                                                                       6 subjected Plaintiff to an adverse employment action, especially not as a matter of
                                                                                       7 "clearly established law" within the particular factual context of this case.
                                                                                       8              Although Plaintiff maintains in his Opposition (Doc. 16) that he has pled an
                                                                                       9 adverse employment action, he completely ignores Defendants' showing that there is
                                                                                      10 no "clearly established law" under which any Defendant's conduct would have
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                                                                                      11 dissuaded a reasonable physician in Plaintiff's position from exercising his First
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                                                                                      12 Amendment rights. Defendants' undisputed showing on this point is a sufficient
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                                                                                      13 basis, in and of itself, for granting the instant Motion based on qualified immunity.
                                                                                      14              Plaintiff also fails to identify facts showing that he spoke as a private citizen
                                                                                      15 on matters of public concern under "clearly established law." The FAC should be
                                                                                      16 dismissed, with prejudice.
                                                                                      17 II.          PLAINTIFF FAILS TO OVERCOME DEFENDANTS' ENTITLEMENT TO
                                                                                      18              QUALIFIED IMMUNITY FROM SUIT UNDER 42 U.S.C. § 1983.
                                                                                      19              A.    Plaintiff Tacitly Concedes There Is No "Clearly Established Law"
                                                                                      20                    Under Which Defendants' Conduct Constituted an Adverse
                                                                                      21                    Employment Action.
                                                                                      22              One of the essential elements of Plaintiff's First Amendment retaliation claim
                                                                                      23 is that each Defendant subjected him to an adverse employment action, Eng v.
                                                                                      24 Cooley, 552 F.3d 1062, 1070 (9th Cir. 2009), which federal law defines as conduct
                                                                                      25 which would have dissuaded a reasonable person in Plaintiff's position from
                                                                                      26 exercising his First Amendment rights. Burlington N. & Santa Fe Ry. v. White, 548
                                                                                      27 U.S. 53, 68 (2006) (Title VII); Coszalter v. City of Salem, 320 F.3d 968, 976 (9th
                                                                                      28 Cir. 2003) (§ 1983). Plaintiff's Opposition unsuccessfully challenges Defendants'

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                                                                                       1 showing that no Defendant's alleged actions constituted an adverse employment
                                                                                       2 action. (Compare Doc. 15-1 at 16-20 with Doc. 16 at 21-24.)1
                                                                                       3              But Defendants' Motion further showed that there is no "clearly established
                                                                                       4 law" which would have put Defendants on notice that any their alleged actions
                                                                                       5 constituted an actionable adverse employment action. (Doc. 15-1 at 20-23.)
                                                                                       6 Consequently, all Defendants are entitled to qualified immunity. Hope v. Pelzer, 536
                                                                                       7 U.S. 730, 739 (2002); Dible v. City of Chandler, 515 F.3d 918, 930 (9th Cir. 2008).
                                                                                       8              Plaintiff completely ignores Defendants' showing on this dispositive point.
                                                                                       9 His only argument on "clearly established law" pertains to "whistleblowing" in
                                                                                      10 general. (See Doc. 16 at 15-18. But see pp. 9-11, infra.) Plaintiff makes no attempt
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                                                                                      11 to show there is "clearly established" law under which any Defendant's alleged
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                                                                                      12 conduct would have dissuaded a reasonable physician in Plaintiff's position from
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                                                                                      13 exercising his free speech rights. (Doc. 16 at 14-24.) This is a sufficient basis, in
                                                                                      14 and of itself, to grant Defendants' Motion on qualified immunity grounds. White
                                                                                      15 v. Pauly, 137 S. Ct. 548, 552 (2017); Sharp v. County of Orange, 871 F.3d 901, 910-
                                                                                      16 11 (9th Cir. 2017); Dahlia v. Stehr, 491 Fed. Appx. 799, 801 (9th Cir. 2012) (police
                                                                                      17 chief was entitled to qualified immunity because Ninth Circuit had not previously
                                                                                      18 decided "whether being placed on administrative leave with pay constitutes an
                                                                                      19 adverse employment action," so plaintiff's "purported right protecting him from
                                                                                      20 placement on administrative leave was thus not 'clearly established'").
                                                                                      21              Plaintiff concedes that the only actions the FAC alleges as adverse were: (1)
                                                                                      22 the alleged votes by Dr. Putnam, Dr. Vintch, Dr. De Virgilio, Dr. Lewis, and Dr.
                                                                                      23 Mahajan to recommend revocation Plaintiff's Professional Staff Association
                                                                                      24 ("PSA") membership and privileges (even though Dr. Mahajan had no voting rights
                                                                                      25 as an ex officio member of the Medical Executive Committee ("MEC")); and (2) Dr.
                                                                                      26
                                                                                           1
                                                                                      27    Page citations herein to Plaintiff's Opposition are to the page numbers in the
                                                                                           headers automatically generated by the CM/ECF system, not those in the footers.
                                                                                      28

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                                                                                       1 Yee's and Dr. Katz's supposed "approval" of that recommendation. (FAC ¶¶ 10, 12,
                                                                                       2 31-32, 34-36, 43; Doc. 15-3 §§ 6.2-5, 6.2-7, 6.2-8, 6.2-9, 7.6-4, 11.2-1.2 [PSA
                                                                                       3 Bylaws, attached as Exh. 1 to Defts' Req. for Jud. Notice]; see pp. 12-14, infra
                                                                                       4 [Plaintiff's objections to judicial notice are without merit].) Plaintiff further confirms
                                                                                       5 the recommended revocation has not occurred, since he exercised his right under
                                                                                       6 the Bylaws to an appeal and hearing. (FAC ¶¶ 34-36.)
                                                                                       7              None of the authorities cited by Plaintiff even addressed qualified immunity,
                                                                                       8 and none supports his argument that the above votes and "approval" constituted
                                                                                       9 adverse employment actions – much less that this proposition somehow was "clearly
                                                                                      10 established." In Ulrich v. City & County of San Francisco, 308 F.3d 968 (9th Cir.
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                                                                                      11 2002), the plaintiff protested layoffs at a public hospital, after which the hospital
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                                                                                      12 opened an investigation of plaintiff's alleged professional incompetence, and later
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                                                                                      13 filed a report that made it "virtually impossible for [plaintiff] to obtain employment
                                                                                      14 as a practicing physician at any hospital in the country." Id. at 972-74. In Poland v.
                                                                                      15 Chertoff, 494 F.3d 1174 (9th Cir. 2007), the plaintiff filed an age discrimination
                                                                                      16 complaint against his direct supervisor, after which that same supervisor initiated a
                                                                                      17 retaliatory administrative inquiry into plaintiff's performance, based on the
                                                                                      18 supervisor's own allegations regarding the plaintiff's behavior, ultimately resulting
                                                                                      19 in plaintiff's constructive discharge. Id. at 1177-78. And in Freitag v. Ayers, 468
                                                                                      20 F.3d 528 (9th Cir. 2006), cert. denied, 549 U.S. 1323 (2007), the plaintiff sent
                                                                                      21 memoranda to a warden and associate warden reporting harassment by prison
                                                                                      22 inmates, after which those same officials initiated retaliatory internal affairs
                                                                                      23 investigations and later approved plaintiff's suspension and termination. Id. at
                                                                                      24 533-36, 543.
                                                                                      25              Here, by comparison, the FAC does not allege that the investigation of
                                                                                      26 Plaintiff was an adverse employment action, or that any of the Defendants initiated
                                                                                      27 or conducted the investigation. Instead, the investigation was compelled by the letter
                                                                                      28 of a non-party – Rodney White, M.D. – who asked for "corrective action" because

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                                                                                       1 Plaintiff's "collection of information" regarding Dr. White's alleged conduct violated
                                                                                       2 federal and state medical privacy laws. (FAC ¶ 29; see Doc. 15-3 § 6.2-5
                                                                                       3 [investigation conducted by "ad hoc committee" appointed by department chair].)2
                                                                                       4              There is no authority at all – and certainly no "clearly established law" –
                                                                                       5 under which the post-investigation recommendation votes of Dr. Putnam, Dr.
                                                                                       6 Vintch, Dr. De Virgilio, Dr. Lewis, and Dr. Mahajan could constitute an adverse
                                                                                       7 employment action. Nor does Plaintiff explain how Dr. Mahajan could have voted at
                                                                                       8 all when he was not entitled to do so under the PSA Bylaws (Doc. 15-3 § 11.2-1.2),
                                                                                       9 or how Plaintiff ever could know the vote of any other MEC member given that
                                                                                      10 those records and proceedings are strictly confidential and immunized from
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                                                                                      11 discovery. See Cal. Evid. Code § 1157. At any rate, Plaintiff's failure to demonstrate
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                                                                                      12 that the voting MEC members committed adverse employment actions under
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                                                                                      13 "clearly established law" entitles these Defendants to qualified immunity. White,
                                                                                      14 137 S. Ct. at 552; Sharp, 871 F.3d at 910-11; Dahlia, 491 Fed. Appx. at 801.
                                                                                      15              Plaintiff's arguments on Dr. Yee's and Dr. Katz's supposed "approval" (Doc.
                                                                                      16 16 at 23) are even less availing. In Freitag, the authority on which Plaintiff relies for
                                                                                      17 this assertion, the individuals who "approved" the plaintiff's suspension and
                                                                                      18 termination were the prison warden and associate warden, facts which suggest their
                                                                                      19 approval was required or otherwise part of the process for implementing the
                                                                                      20 adverse actions. Freitag, 468 F.3d at 533-34, 543; cf. Coszalter, 320 F.3d at 977
                                                                                      21 ("severe and sustained campaign of employer retaliation" was an adverse
                                                                                      22 employment action). Here, however, Plaintiff concedes that Dr. Yee and Dr. Katz
                                                                                      23 are not MEC members and had no role whatsoever in the investigative or
                                                                                      24
                                                                                      25   2
                                                                                           Contrary to what the Opposition asserts, paragraphs 6-9 and 11 of the FAC do not
                                                                                      26 allege that "Drs. Putnam, Vintch, Mahajan, De Virgilio, and Lewis all participated
                                                                                      27 in this decision" to investigate Plaintiff, but only that they were on the MEC itself.
                                                                                         (FAC ¶¶ 6-9, 11, cited in Doc. 16 at 10.)
                                                                                      28

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                                                                                       1 disciplinary processes. (FAC ¶¶ 10, 12, 31-32; accord Doc. 15-3 §§ 6.2-5, 6.2-7,
                                                                                       2 6.2-8, 6.2-9, 7.6-4.) Plaintiff's Opposition, like the FAC, alleges no facts which
                                                                                       3 would show how any supposed "approv[al]" – or "endors[ment]," "ratifi[cation],"
                                                                                       4 "encourage[ment]," or "permi[ssion]" by Dr. Yee or Dr. Katz could have been
                                                                                       5 accomplished or would have had any impact. (Doc. 16 at 11, 23; FAC ¶¶ 10, 12, 31-
                                                                                       6 32.)
                                                                                       7              Indeed, it remains a complete mystery how Dr. Yee supposedly "endorsed,
                                                                                       8 ratified, encouraged, and approved" any action against Plaintiff, much less how Dr.
                                                                                       9 Yee had "full knowledge" of the allegedly retaliatory motive. (FAC ¶ 31.) The only
                                                                                      10 example offered as to Dr. Katz was that when the "President of the Union of
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                                                                                      11 American Physicians" supposedly "confronted" him with the ostensible "fact that
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                                                                                      12 the proceeding was retaliatory and should be stopped, Dr. Katz replied that he would
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                                                                                      13 'let nature take its course.'" (FAC ¶ 32.) But Plaintiff does not explain what else was
                                                                                      14 Dr. Katz supposed to say, and ignores the obvious fact that it would have been
                                                                                      15 highly improper for Dr. Katz to interfere with an investigation of Plaintiff's
                                                                                      16 potential violations of medical privacy laws.
                                                                                      17              Plaintiff thus alleges no facts which would suggest that Dr. Yee or Dr. Katz
                                                                                      18 engaged in conduct remotely similar to the adverse employment actions taken by the
                                                                                      19 defendants in Freitag, 468 F.3d at 533-36, 543. At the very least, there is no clearly
                                                                                      20 established, pre-existing law under which it would have been "apparent" to Dr. Yee
                                                                                      21 or Dr. Katz – or the other Defendants – that their alleged conduct constituted an
                                                                                      22 adverse employment action. Hope, 536 U.S. at 739. As such, all seven Defendants
                                                                                      23 are entitled to qualified immunity. White, 137 S. Ct. at 552; Sharp, 871 F.3d at 910-
                                                                                      24 11; Dahlia, 491 Fed. Appx. at 801.
                                                                                      25              B.    Plaintiff Identifies No "Clearly Established Law" Making It
                                                                                      26                    Apparent That He Spoke on Matters of Public Concern.
                                                                                      27              As discussed in Defendants' Motion, Plaintiff has offered no legal support,
                                                                                      28 and certainly no clearly established law, to support the FAC's conclusory description

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                                                                                        1 of Dr. White's alleged conduct as "fraudulent" and "unlawful." Plaintiff thus offers
                                                                                        2 nothing that would have put any Defendant on reasonable notice that he spoke on
                                                                                        3 matters of "public concern." Dible, 515 F.3d at 930.
                                                                                        4              Plaintiff's response in his Opposition is to contend that "whistleblowing was
                                                                                        5 clearly established as constitutionally protected speech in 2013." (Doc. 16 at 15,
                                                                                        6 emphasis deleted.) Far from being sufficient, however, this is precisely the type of
                                                                                        7 vague assertion that violates the Supreme Court's repeated warning that courts are
                                                                                        8 not to "define clearly established law at a high level of generality." Ashcroft v. al-
                                                                                        9 Kidd, 563 U.S. 731, 742 (2011) ("The general proposition, for example, that an
                                                                                       10 unreasonable search or seizure violates the Fourth Amendment is of little help in
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                                                                                       11 determining whether the violative nature of particular conduct is clearly
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                                                                                       12 established.") (citations omitted); Sharp, 871 F.3d at 910-11 (while precedents
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                                                                                       13 "establish a general rule that an unreasonable mistake of identity renders an arrest
                                                                                       14 unconstitutional, we cannot simply apply that general rule to the facts of this case").
                                                                                       15              Plaintiff still offers no legal support for his conclusory assertions that Dr.
                                                                                       16 White's alleged conduct was "fraudulent" and "unlawful," and he tacitly concedes
                                                                                       17 that none of the agencies identified in the FAC (the NIH, the DA, or the state DOJ)
                                                                                       18 found that his allegations established unlawful conduct even on their face. Plaintiff
                                                                                       19 merely relies on authorities which did not address qualified immunity, and which
                                                                                       20 involved "whistleblowing" of clearly-identified unlawful conduct or other matters of
                                                                                       21 public concern. See Dahlia v. Rodriguez, 735 F.3d 1060, 1067 (9th Cir. 2013)
                                                                                       22 ("reporting police abuse and the attempts to suppress its disclosure . . . is
                                                                                       23 quintessentially a matter of public concern"); Marable v. Nitchman, 511 F.3d 924,
                                                                                       24 927 (9th Cir. 2007) (plaintiff complained about "such schemes as claiming
                                                                                       25 inappropriate overtime and using [Washington State Ferries] 'Special Projects' to
                                                                                       26 enable them to supplement their pay inappropriately," which constituted "a waste of
                                                                                       27 public funds and a threat to public safety"); Freitag, 468 F.3d at 546 (jailer reported
                                                                                       28 sexual abuse which prison authorities failed to address, thus exposing employer to

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                                                                                        1 liability under Title VII); Thomas v. City of Beaverton, 379 F.3d 802, 809 (9th Cir.
                                                                                        2 2013) (plaintiff refused to go along with racially discriminatory hiring practices of
                                                                                        3 public agency).
                                                                                        4              None of these cases suggests that a mere "whistleblowing" label will suffice.
                                                                                        5 For purposes of this Motion, the Court need only determine that there is no "clearly
                                                                                        6 established law" under which Plaintiff's alleged speech involved matters of "public
                                                                                        7 concern." Because Plaintiff himself identifies no such established law, Defendants
                                                                                        8 are entitled to qualified immunity on this additional basis. Ashcroft, 563 U.S. at 742;
                                                                                        9 Dible, 515 F.3d at 930.
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                                                                                       10              C.    Plaintiff Also Identifies No "Clearly Established Law" That Would
                                                                                       11                    Have Made It Apparent That He Spoke as a Private Citizen.
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                                                                                       12              Plaintiff argues it is too early to determine whether his alleged speech fell
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                                                                                       13 within the scope of his public employment, or whether he spoke as a private citizen.
                                                                                       14 (Doc. 16 at 18.) But Plaintiff overlooks the fact that Defendants raised this issue
                                                                                       15 solely within the context of qualified immunity, and demonstrated the absence of
                                                                                       16 any "clearly established," controlling precedent that would have put Defendants on
                                                                                       17 notice that Plaintiff supposedly was speaking as a private citizen.
                                                                                       18              Plaintiff himself cites no such precedent. He merely relies on Freitag for the
                                                                                       19 broad proposition that reporting "misconduct to outside agencies as a
                                                                                       20 whistleblower" falls "outside the scope" of a public employee's job duties. (Doc. 16
                                                                                       21 at 18.) However, Plaintiff disregards his own FAC's allegations, where the only
                                                                                       22 example of the "kickback" scheme involved an ostensibly unnecessary medical
                                                                                       23 procedure on one of Plaintiff's own patients (FAC ¶¶ 16-23), and Plaintiff's internal
                                                                                       24 and external reports alike were motivated by his stated concerns about "patient care"
                                                                                       25 and "endangerment" (id. ¶¶ 24-26). As Plaintiff concedes, those matters obviously
                                                                                       26 are central to his public employment as a Staff Vascular Surgeon. (Id. ¶ 1.) Under
                                                                                       27 the facts alleged in the FAC, a reasonable person in the position of any of the
                                                                                       28 Defendants would have concluded Plaintiff was speaking pursuant to his

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                                                                                        1 professional responsibilities as a publicly-employed physician, not as a private
                                                                                        2 citizen. See Demers v. Austin, 746 F.3d 402, 417 (9th Cir. 2014); Dible, 515 F.3d at
                                                                                        3 930.
                                                                                        4              Plaintiff also continues to rely on his false assertion that the April 4, 2017
                                                                                        5 Suspension Notice "stated specifically that Dr. Ryan's reporting to outside agencies
                                                                                        6 violated its Discipline Manual and Guidelines because it was outside the scope of
                                                                                        7 his employment duties." (Doc. 16 at 19, emphasis deleted, citing FAC ¶ 37.) In fact,
                                                                                        8 the Suspension Notice itself (Doc. 15-5) (Exhibit 3 to Req. for Jud. Not., Doc. 15-2)
                                                                                        9 does not assert that Plaintiff went outside his job duties in connection with his
                                                                                       10 ostensible "reporting to outside agencies." Rather, Plaintiff exceeded those duties by
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                                                                                       11 his "unauthorized request and review" of protected health information of other
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                                                                                       12 doctors' patients whose care predated Plaintiff's employment at Harbor-UCLA, and
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                                                                                       13 then by lying about this misconduct. (Doc. 15-5 at 6.) Not surprisingly, Plaintiff
                                                                                       14 does not claim that his violation of patients' medical privacy or his lies about his
                                                                                       15 misconduct constituted constitutionally-protected speech. Similarly, there is no
                                                                                       16 clearly established law that would preclude the Defendants from recommending
                                                                                       17 discipline for his unauthorized request and review of federally protected medical
                                                                                       18 information under HIPAA.
                                                                                       19              Plaintiff therefore fails to rebut Defendants' showing that there is no clearly
                                                                                       20 established law under which Plaintiff's allegedly-protected speech fell outside his
                                                                                       21 public job duties. This is yet another separate, independent basis for grating
                                                                                       22 Defendants dismissal based on qualified immunity. Demers, 746 F.3d at 417; Dible,
                                                                                       23 515 F.3d at 930.
                                                                                       24              D.    Judicial Notice of the PSA Bylaws and Suspension Notice is Proper,
                                                                                       25                    and These Documents Should Be Deemed Incorporated by
                                                                                       26                    Reference.
                                                                                       27              Plaintiff's Opposition, like the FAC, makes factual assertions which refer and
                                                                                       28 rely on both the PSA Bylaws (Doc. 16 at 10-12; FAC ¶¶ 30, 33-34) and the April 4,

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                                                                                        1 2017 Suspension Notice (Doc. 16 at 12, 19; FAC ¶¶ 37, 42). Under well-established
                                                                                        2 Ninth Circuit law, this Court may deem both the Bylaws and the Suspension Notice
                                                                                        3 to be incorporated by reference, even though they are not attached to the FAC. See,
                                                                                        4 e.g., Davis v. HSBC Bank, 691 F.3d 1152, 1159-60 (9th Cir. 2012) (citing numerous
                                                                                        5 cases).
                                                                                        6              Remarkably, Plaintiff opposes Defendants' Request for Judicial Notice of the
                                                                                        7 Bylaws and Suspension Notice, based on his argument that these documents "are not
                                                                                        8 central" or "integral" to Plaintiff's claim. (Doc. 16-1 at 2-3.) Plaintiff's contention is
                                                                                        9 devoid of merit. In one of the cases Plaintiff cites, the Ninth Circuit deemed a billing
                                                                                       10 agreement to be incorporated into an amended complaint which did not "explicitly
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                                                                                       11 refer" to that document, because it was "integral" to the amended complaint and
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                                                                                       12 there was no dispute as to authenticity. Coto Settlement v. Eisenberg, 593 F.3d 1031,
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                                                                                       13 1038 (9th Cir. 2010). Plaintiff's only other citations are to district court cases which
                                                                                       14 denied judicial notice of documents not referenced in the pleadings. Danzig v.
                                                                                       15 Caiafa, No. 2:14-cv-02540-RGK-RZ, Doc. 59 at 5-6 (C.D. Cal. Nov. 18, 2014)
                                                                                       16 ("The FAC contains no allegations which refer to any contents of the agreement, nor
                                                                                       17 do any of Plaintiff’s claims rely upon the agreement."); Rhodes v. Sutter Health, No.
                                                                                       18 Civ. 2:12-0013 WBS DAD, 2012 U.S. Dist. Lexis 25638, at *8-*9 (E.D. Cal. Feb.
                                                                                       19 28, 2012) (denying judicial notice of private entity's bylaws which were not a public
                                                                                       20 record; no suggestion that bylaws were referenced in complaint).
                                                                                       21              Plaintiff's FAC relies on its references to the PSA Bylaws to allege that: (1)
                                                                                       22 "the MEC is responsible for, among things, initiating disciplinary actions against
                                                                                       23 medical staff at Harbor-UCLA and, where appropriate, dismissing medical staff and
                                                                                       24 discontinuing medical privileges" (FAC ¶ 30; Doc. 16 at 10); (2) the MEC voted to
                                                                                       25 revoke Plaintiff’s PSA membership and privileges "in accordance with Article VI of
                                                                                       26 Harbor-UCLA’s Bylaws" (FAC ¶ 33; Doc. 16 at 11); and (3) "Plaintiff thereafter
                                                                                       27 requested a hearing in accordance with Section 7.4-2 of Harbor-UCLA’s Bylaws"
                                                                                       28 (FAC ¶ 34; Doc. 16 at 12). The FAC also falsely characterizes the Suspension

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                                                                                        1 Notice as stating "Plaintiff’s actions violated DHS’ [sic] Discipline Manual and
                                                                                        2 Guidelines because the actions were outside the scope of Plaintiff’s employment
                                                                                        3 duties." (FAC ¶ 37; Doc. 16 at 12. But see Doc. 15-5 [the actual Suspension Notice
                                                                                        4 says no such thing].) Plaintiff's FAC and Opposition both explicitly rely on the latter
                                                                                        5 falsehood as the basis for Plaintiff's claim that his speech fell outside his job duties.
                                                                                        6 (FAC ¶ 42; Doc. 16 at 19.)
                                                                                        7              It is hard to imagine two documents more amenable to "incorporation by
                                                                                        8 reference" than the PSA Bylaws and Suspension Notice. Plaintiff cites no case
                                                                                        9 which suggests such incorporation is unwarranted. It is particularly improper for
                                                                                       10 Plaintiff to misstate the law in order to facilitate his brazen misrepresentation of the
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                                                                                       11 Suspension Notice's contents.
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                                                                                       12              In any event, Plaintiff does not dispute the authenticity or contents of the
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                                                                                       13 PSA Bylaws or the Suspension Notice.3 (See Doc. 16-1 at 2-4.) Thus, in addition to
                                                                                       14 the "incorporation by reference" doctrine, judicial notice of these documents and
                                                                                       15 their contents is proper because they are "not subject to reasonable dispute" and are
                                                                                       16 "capable of accurate and ready determination by resort to sources whose accuracy
                                                                                       17 cannot reasonably be questioned." Fed. R. Evid. 201(b), (d); cf. Lee v. City of Los
                                                                                       18 Angeles, 250 F.3d 668, 690 (9th Cir. 2001) (court may only take judicial notice of
                                                                                       19 existence of another court's opinion, not for the truth thereof).
                                                                                       20              Even if this Court were to ignore the Bylaws and Suspension Notice,
                                                                                       21 however, Defendants' Motion and the above discussion demonstrate that Defendants
                                                                                       22 are entitled to dismissal based on qualified immunity.
                                                                                       23              E.    There Is No Basis For Granting Leave to Amend.
                                                                                       24              Plaintiff already has amended his pleading once, in response to Defendants'
                                                                                       25
                                                                                            3
                                                                                       26  Defendants have not requested judicial notice of the truth of the statements in the
                                                                                       27 Suspension Notice (which Plaintiff presumably disputes), but only of the existence
                                                                                          of its contents (which Plaintiff has falsely characterized but has not disputed).
                                                                                       28

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                                                                                        1 meet-and-confer overtures regarding a proposed Motion to Dismiss the original
                                                                                        2 Complaint. See LR 7-3. While Plaintiff asks the Court to deny the instant Motion to
                                                                                        3 Dismiss, he does not suggest any good-faith amendment could cure the defects
                                                                                        4 discussed in Defendants' Motion or this Reply. Accordingly, this Court should grant
                                                                                        5 Defendants' Motion to Dismiss without leave to amend. See Moore v. Kayport
                                                                                        6 Package Express, 885 F.2d 531, 538 (9th Cir. 1989).
                                                                                        7 III.         CONCLUSION
                                                                                        8              Defendants again respectfully ask this Court to grant their Motion to Dismiss,
                                                                                        9 without leave to amend.
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                                                                                            DATED: November 20, 2017                BALLARD ROSENBERG
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